     Case 2:03-cr-00350-RFB-PAL         Document 1564        Filed 10/14/10        Page 1 of 1


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     1                              UNITED STATES DISTRICT COURT                                                 t ';
     2                                      DISTRICT OFNEVADA                 CCJ
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     4    U N ITED STA TES 0 F AM ERICA
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     5                         Plaintiff,
     6                                                                        O R DER
          VS.
     7    JA M AR BELIN
                          ,

     8                         D efendant.
     9
                       Presently beforethe courtisthematterofU.S.v.ArlandersGibson etal.in
    10
         particular defendantJam arBelin.
    l1
                       On October14,2010,thiscourtheld ahealing forrevocation ofsupervised release
    l2
         asto defendantJamarBelin.The Governmentand theU.S.Probation departm entrequestthatthe
    13
         revocation in this case becontinued to allow M r.Belin to resideinthehalfwayhouseprogram .
    14
                      A ccordingly,
    15
                       IT IS HEREBY ORDERED ADJUDGED AND DECREED thatdefendantJamar
    16
         Belinresideinaresidentialre-entzy centerm alf-wayHouseforaperiod of> 042)months.
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                      D A TED : O ctober l4,2010.
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